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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



   SINAI HOLDINGS, LLC,                                        CASE NO. 23-62159-CIV-WPD
   a Florida limited liability company,
   and JACOB GITMAN,

          Plaintiffs,

   vs.

   JPMORGAN CHASE BANK, N.A., a foreign
   profit corporation,

         Defendant.
   _____________________________/

                          ORDER GRANTING MOTION TO WITHDRAW


          This   matter    came    before     the   Court   upon the UNOPPOSED MOTION TO

   WITHDRAW OF SCHLESINGER LAW OFFICES, P.A. [DE 131].                        Court has carefully

   considered the Motion. The Court notes that neither Plaintiffs nor opposing counsel have

   objected to the Motion and further notes that Plaintiffs have remaining counsel. The Court is

   otherwise fully advised in the premises.

          Accordingly, it is ORDERED AND ADJUDGED that:

           1.      The Motion [DE 131] is GRANTED.

           2.      Attorneys David Silverman, Jeffrey L. Haberman, and Jonathan R. Gdanski of

                   Schlesinger Law Offices, P.A. are excused from all future responsibilities in this

                   case as counsel to Plaintiffs.
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           3.     Attorneys Joshua R. Kon, Yosef Kudan, and David Rosenblatt of STOK KON +

                  BRAVERMAN, who are admitted to this court, will continue representing

                  Plaintiffs SINAI HOLDINGS, LLC and JACOB GITMAN as lead Counsel.

           DONE and ORDERED in Chambers, at Fort Lauderdale, Florida, on May 28th, 2025.




   Copies furnished to:
    All counsel of record
